Case 2:05-cr-20213-.]PI\/| Document 13 Filed 07/12/05 Page 1 of 2 Page|D 20

IN THE UNITED STATES DISTRICT COURT F£LED M_ D,C.

 

  

 

FOR THE WESTERN DISTRICT oF TE!~H~IESSEFU5
WESTERN DIVIsioN JUL t 2 PH 5= 1, g
UNITED sTATEs 0F AMERICA jjjj,; i_ jL}QI(SUHT
v. 05-20213-M1
DESIRAY MURRY
0RDER oN ARRAIGNMENT

 

This cause came to be heard on QA ,(,£4., /2 2 505 ,the United States Attorney

for this district appeared on behalf of the W,vernr@nt and the defendant appeared` in person and with
counsel:

NAME O{L! ‘<&¢/‘ dal who is Retained/Appoimed.

-_-_H___'-

 

The defendant, through connsel, Waived formal arraignment and entered a plea of not guilty.

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All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

f The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a State prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UN.[ D STATES MAGISTRATE JUDGE

CHARGES: 21 :841; 18:924(g);

U. S. Attorney assigned to Case: S. Leary

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy ofthe document docketed as number 13 in
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Honorable J on McCalla
US DISTRICT COURT

